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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------x
GREGORY DESTINE,                                              :
                                                              :
                        Plaintiff,                            :   20-CV-0082 (LTS) (OTW)
                                                              :
                      -against-                               :   ORDER
                                                              :
ROMEO JOSEPH, et al.,
                                                              :
                        Defendants.                           :
                                                              :
                                                              :
--------------------------------------------------------------x

         ONA T. WANG, United States Magistrate Judge:

         The parties appeared for a telephonic status conference on January 7, 2021. The

conference was originally scheduled for 10:30 am, but Plaintiff’s correctional facility did not join

Plaintiff into the conference until approximately 11:00 am. Plaintiff also expressed a reluctance

to meet and confer with Defendants without the Court on the line, and has previously refused

to speak to Defendants. (ECF 51, 54).

         It is HEREBY ORDERED:

    •    The stay of discovery with Defendant the City of New York remains.

    •    Parties are directed to appear for a telephonic status conference on March 4, 2021 at

         10:00 am. Dial-in (866) 390-1828, access code 1582687.

    •    Defendant Joseph is directed to mail a pro se case management form, available at

         https://www.nysd.uscourts.gov/hon-ona-t-wang, with tracking to Plaintiff by January

         11, 2021, and file proof of service on the docket.
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   •   After Plaintiff receives the form, and well before February 25, 2021, Plaintiff is directed

       to meet and confer in good faith with Defendant Joseph regarding a case management

       plan. Failure to meet and confer in good faith may result in a recommendation of

       dismissal for failure to prosecute.

   •   If parties are unable to agree on a case management plan, each party shall submit

       individual plans by February 25, 2021.

   •   Plaintiff and Defendant Joseph are directed to meet and confer in preparation for the

       March 4, 2021 status conference on March 4, 2021 at 9:30 am. Parties shall dial into the

       conference line by 9:45 am.

   •   Defendants are directed to order a copy of the January 7, 2021 conference transcript,

       split the cost, and mail a copy to the Plaintiff.


       The Clerk of Court is directed to serve a copy of this Order on the pro se Plaintiff.


       SO ORDERED.



                                                             s/ Ona T. Wang
Dated: January 11, 2021                                    Ona T. Wang
       New York, New York                                  United States Magistrate Judge




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